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                                                                             FILED
                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF VIRGINIA
                                                                       2015 DEC 11 P |: 2tj
SAADIQ LONG, aka Paul Anderson,
JUANGJAN DAVES,
LESHAUNA DAVES,
                                                                             DISTRICT COURT
                                                                ,. ,             yiMlNlA
                                                       Case No. I .\ SC\/\U M ^
         Plaintiffs,

V.

                                                       ** EXPEDITED HEARING
LORETAA LYNCH, Attorney                                REQUESTED **
General of the United States;
in her official capacity, only;

JAMES B. COMEY, Director
of the Federal Bureau of
Investigation, in his official
capacity, only;

TIMOTHY J. HEALY, Director
of the Terrorist Screening
Center, in his official capacity,
only;

MATTHEW G. OLSEN, Director
of the National Counterterrorism
Center, in his official capacity,
only;

JEH JOHNSON, Director of the
Department of Homeland Security, in
his official capacity, only; and,

PETER NEFFENGER, Administrator
of the United States Transportation
Security Administration, in his official
capacity, only;

UNKNOWN TSC AGENTS, in their
individual capacity, only;

         Defendants.



                                           COMPLAINT
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       Plaintiffs, through their undersigned counsel, state as follows:

                                         Introduction


       1.         Our federal government is imposing an injustice of historic proportions

upon the Americans who have filed this action, as well as thousands of others. Through

extra-judicial and secret means, the federal government is ensnaring individuals into an

invisible web of consequences that are imposed indefinitely and without recourse as a

result of the shockingly large federal watch lists that now include hundreds of thousands

of individuals.


       2.         These consequences include the inability to fly on airplanes, to go through

security without having all screeners receive a message for the remainder of your life

that you are a "known or suspected terrorist," to obtain licenses, to exercise your Second

Amendment right to own a firearm, and to be free from the unimaginable indignity and

real- life danger of having your own government communicate to hundreds of thousands

of federal agents, private contractors, state and local police, the captains of sea-faring

vessels, and foreign governments all across the world that you are a violent menace.

       3.         And unfortunately, the federal government has designed its federal watch

list to be accountability-free. Persons placed on the federal watch list have no means of

removing themselves or challenging the basis for their inclusion. Indeed, people on the

federal watch lists only learn of their placement when they feel the web of consequences

burdening their lives and aspirations, and they never learn why.


       4.     Leaked government documents, which are now publicly available, have

made clear that the secret federal watch list, of which the No Fly List is a subset, is the
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product of bigotry and misguided, counterproductive zeal. Americans are designated

onto the watch list without being charged, convicted, or in some stomach-churning cases,

even subject to an ongoing investigation.

       5.      Instead, we now know—because of two recently leaked government

documents and a governmental report, which include the March 2013 Watchlisting

Guidance, the Directorate of Terrorist Identities (DTI): Strategic Accomplishments 2013,

and the Department of Justice's March 2014 Audit of the Federal Bureau of

Investigation's Management of Terrorist Watchlist—that the care the federal

government takes in creating its federal watch list would be laughable if not for the

tragic, life-altering consequences that flow from these illegal actions.

       6.     We now know that Dearborn, a city of less than 100,000 and a place Arab

Americans and Muslim Americans have called home for generations, contains the second

highest concentration of Americans on the federal government's watch list. We know that

there have been more than 1.5 million nominations to the federal watch list since 2009

and that, in 2013 for example, the Terrorist Screening Center converted 98.96 percent of

those nominations into watch list placements.

       7.     Evidence shows that the federal government uses guilt-by-association

presumptions to place family members and friends of listed persons on the watch list.

       8.     Moreover, travel to Muslim majority countries—travel that American

Muslims are very likely to engage in—is also a basis for watch list placement.

       9.     In 2009, the federal government made 227,932 nominations to its federal

watch list. In 2013, that number more than doubled to 468,749. If this Court does not

temper
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the federal government's watch listing obsession, by2018, Defendants may be nominating
more than a million individuals a year to its watch list.

                                            Parties


        10.    Plaintiff Saadiq Long is a United States Citizen and a Muslim. Venue is

 proper because a substantial part of the events or omissions giving rise to his claims

 occurred within this district which is where the federal watchlist is compiled.

        11.    Plaintiff [wife] is a United States Citizen and a Muslim. Venue is proper

 because a substantial part of the events or omissions giving rise to his claims occurred

 within this district which is where the federal watchlist is compiled.

        12.    Plaintiff [daughter] is a United States Citizen and a Muslim.       Venue is

 proper because a substantial part of the events or omissions giving rise to his claims

 occurred within this district which is where the federal watchlist is compiled.

        13.    Defendant Loretta Lynch is Attorney General of the United States.

Defendant Holder is being sued in his official capacity, only.

        14.    Defendant James B. Comey is Director of the Federal Bureau of

 Investigation ("FBI"). DefendantComey is being sued in his official capacity, only.

        15.    Defendant Timothy J. Healy is Director of the Terrorist Screening Center

 ("TSC"). Defendant Healyis being sued in his official capacity,only.

        16.    Defendant Matthew G. Olsen is Director of the National Counterterrorism

Center ("NCTC"). Defendant Olsen is being sued in his official capacity, only.

        17.    Defendant Jeh Johnson is Director of the Department of Homeland

Security. Defendant Johnson is being sued in his official capacity, only.
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        18.      Defendant Peter Nefenger is Administrator of the United States

Transportation SecurityAdministration ("TSA"). Defendant Nefenger is being sued in his

official capacity, only.

        19.      Unknown TSC Agents are the TSC officials who placed plaintiffs on the No

Fly List and/or caused the list with their names on it to be disseminated to foreign

countries, includingTurkey. Unknown TSC Agents are sued in their individual capacity.

                                   lurisdiction and Venue


        20.      Under U.S. Const. Art. Ill §2, this Court has jurisdiction because the rights

sought to be protected herein are secured by the United States Constitution. Jurisdiction

is proper pursuant to 28 U.S.C. § 1331, Bivens v. Six Unknown Named Agents of Federal

Bureau ofNarcotics, 403 U.S. 388 [1971], etseq., 5 U.S.C. § 702, 5 U.S.C. § 706, the United

States Constitution, and federal common law.

       21.       This action seeks declaratory relief pursuant to the Declaratory Judgment

Act, 28 U.S.C. § § 2201-02, Rules 57 and 65 of the Federal Rules of Civil Procedure, and

pursuant to the general, legal, and equitable powers of this Court.

       22.       This action also seeks damages pursuant to 28 U.S.C. § 1343(a)(4) and 28

U.S.C. § 1357.

       23.       A substantial part of the unlawful acts alleged herein were committed

within the jurisdiction of the United States District Court for the Eastern District of

Virginia, because that is where the No Fly List is compiled.

        24.      Venue is proper under 42 U.S.C. § 1391(e) as to all Defendants because

Defendants are officers or employees of agencies of the United States sued in their

official capacity and because this judicial district is where all Defendants have substantial
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contacts and where a substantial part of the events or omissions giving rise to the claims

occurred.


                                      Factual Background

                         The Federal Government's Terrorist Watch List

          25.   In September, 2003, Attorney General John Ashcroft established the

Terrorist Screening Center to consolidate the government's approach to terrorism

screening. The TSC, which is administered by the FBI, develops and maintains the federal

government's consolidated Terrorism Screening Database (the "watch hst"). TSC's

consolidated watch list is the federal government's master repository for suspected

international and domestic terrorist records used for watch list related screening.

          26.   The watch list has two primary components: the Selectee List and the No-

Fly List. Persons on the Selectee List are systematically subject to extra screening at

airports and land border crossings, and often find "SSSS" on their boarding passes which

is marked to indicate a passenger's watch list status to screeners. Persons on the No-Fly

List are prevented from boarding flights that fly into, out of, or even through United

States airspace.

          27.   TSC sends records from its terrorist watch list to other government

agencies that in turn use those records to identify suspected terrorists. For example,

applicable TSC records are provided to TSA for use by airlines in pre-screening

passengers and to CBP for use in screening travelers entering the United States. Thus,

while the TSC maintains and controls the database of suspected terrorists, it is the front

line agencies like the TSA that carry out the screening function. In the context of air

travel,              when              individuals              make                  airline
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reservations and check in at airports, the front-line screening agency, like TSA and CBP,

conducts a name-based search of the individual to determine whether he or she is on a

watch list.


       28.     While agencies throughout the federal government utilizes the federal

watch list to conduct screening, listed persons are subject to a comprehensive portfolio

of consequences that cover large aspects of their lives.

       29.     Indeed, the federal government disseminates its federal watch list to state

and local authorities, foreign governments,corporations, private contractors, the captains

of sea- faring vessels, among others in order to encourage these entities to impose

consequences on those individuals Defendants have listed.

       30.     Because the federal government disseminates its federal watch list to

foreign governments, listed persons are often not allowed to enter other nations. This is

because the United States is telling other nations, without any modicum of due process,

that thousands of its own citizens are "known or suspected terrorists."

       31.     The federal government disseminates its federal watch list to state and

local police officers, which allows those officers to query the names of persons, if for

example, the listed individual is pulled over for routine traffic violations.

       32.     Disseminating the federal watch list to state and local police officers

creates a dangerous situation insofar as the federal watch list effectively direct state and

local officers to treat thousands of Americans charged or convicted with no crime yet

listed as a "known or suspected terrorist" and as extremely dangerous.

       33.     With the advent and deployment of automatic license plate readers by

police departments across the country, being listed on the federal watch list can be the

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 basis of a traffic stop.

         34.     Being on the federal watch list can prevent listed persons from purchasing
 a gun. For example, Connecticut's governor just issued an executive order banning

 persons on the federal watch list from buying guns.

         35.     Because the federal government conducts a security risk assessment that
 includes querying the federal watch list prior to issuing a license to commercial drivers
 to transport hazardous materials, being on the federal watch list can prevent listed

 persons from obtaining or renewing their Hazmat license.

        36.      Being on the federal watch list can also prevent listed persons from

 accompanying minors or passengers with disabilities to their gate, from working at an

 airport, or working for an airline insofar as listed persons are not allowed to enter so-

 called "sterile areas" of airports.

        37.     Although TSA, CBP, and other agencies may use the records provided by

 the TSC, it is the TSC that maintains and controls the database of suspected terrorists.

38.             Two government entities are primarily responsible for "nominating"

individuals for inclusion in the terrorist watch list—the NCTC and the FBI. The NCTC,

which is managed by the Office of the Director of National Intelligence, relies on

information from other federal departments and agencies when including known or

suspected international terrorists in its Terrorist Identities Datamart Environment

("TIDE") database. The NCTC reviews TIDE entries and recommends specific entries to

the TSC for inclusion in the watch list. TIDE is the main source of all international terrorist

information included in the watch list.

        39.     The FBI, in turn, nominates to the watch list individuals with what it


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 characterizes as suspected ties to domestic terrorism. TSC makes the final decision on

 whether a nominated individual meets the minimum requirements for inclusion into the

 watch list as a known or suspected terrorist TSC also decides which screening systems

 will receive the information about that individual.

        40.     Defendant Healy has testified that in evaluating whether an individual

 meets the criteria for inclusion on the consolidated watch list, the TSC determines

 whether the nominated individual is "reasonably suspected" of having possible links to

 terrorism. According to the TSC, "reasonable suspicion requires articulable facts which,

 taken together with rational inferences, reasonably warrant the determination that an

 individual is known or suspected to be or has been engaged in conduct constituting, in

 preparation for, in and of or related to terrorism and terrorist activities."

        41.     Defendants have not stated publicly what standards or criteria are applied

to determine whether an individual on the consolidated watch list will be placed on the

 No-Fly List, Selectee List ("SSSS") or other list that is distributed to the TSA, CBP or other

screening agencies.


42.            The standards for watch list inclusion do not evince even internal

logic. Defendants define a "suspected terrorist" as an "individual who is reasonably

suspected to be, or have been, engaged in conduct constituting, in preparation for, in aid

of, or related to terrorism and terrorist activities based on articulable and reasonable

suspicion." In other words, Defendants place individuals on the federal watch list based

upon a "reasonable suspicion" that they are "reasonably suspected" of nefarious

activities. This "reasonable suspicion" based on a "reasonable suspicion" standard does

not even contain internal logic.

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        43.    The federal government utilizes guilt-by-association as a basis for watch

list inclusion. For example, the immediate relative of listed persons can be listed without

any derogatory information—other than the bonds of family. Nonetheless, such

designation suggests that the immediate relative is him or herselfengaged in nefarious

activities.


        44.    Being a known associate—a friend, colleague, fellow community member,

etc.—of a listed individual can also provide a basis for watch list inclusion.

        45.    Even ifan individual is acquitted ofterrorism charges or those charges are

otherwise dismissed, the federal government retains for itself the authority to continue

to include them in the watch list.

        46.    For reasons unknown, Defendants also place what they call "non-

investigatory subjects" on the federal watch list, people that they have chosen not to

investigate.

        47.    Under these practices and standards, the number of records in the

consolidated watch list has swelled. Over 1.5 million nominations to the watch list have

been submitted by federal agencies since fiscal 2009.

       48.     In 2013, Defendant TSC accepted 98.96 percent of all nominations made.

       49.     Because of these loose standards and practices, the federal watch list's rate

of growth has increased. In fiscal 2009, there were 227,932 nominations to the watch

Hst. In fiscal 2013, there were 468,749 nominations.

       50.     In 2001, there were 16 people who the federal government systematically

prevented from flying. In 2013, that number increased to 47,000.

       51.     Once an individual has been placed on the watch list, the individual


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remains on the list until the agencythat supplied the initial information in support of the

nomination determines the individual should be removed.

          52.   A 2007 GAO report found that TSC rejects only approximately one percent

of all nominations to the watch list.i As such, the watch list is growing at a rate of

approximately 20,000 entries per year.

          53.   At a March 10, 2010 Senate Homeland SecurityCommittee hearing, Russel

E. Travers, Deputy Director of the National Counterterrorism Center, stated that "[t]he

entire federal government is leaning very far forward on putting people on list," and that

the watch list is "getting bigger, and it willget even bigger."

        54.     The federal watch list also disproportionately targets American Muslims.

        55.     Defendants have utilized the watch list, not as a tool to enhance aviation

and border security, but as a bludgeon to coerce American Muslims into becoming

informants or forgoing the exercise of their rights, such as the right to have an attorney

present during law enforcement questioning.

        56.     Public examples of this phenomenon abound. See Latifv. Holder, 2014 U.S.

Dist. LEXIS 85450, *19 [D. Or. June 24, 2014} (an FBI agent told Steven Washburn that he

"would help remove Washburn's name from the No-Fly List if he agreed to speak to the

FBI"]; Id. at *21-22 (FBI agents told Ibraheim Mashal that "his name would be removed

from the No-Fly List and he would receive compensation if he helped the FBI by serving

as an informant."): Id at *22-23 (FBI agents offered Amir Meshal "the opportunity to

serve as a government informant in exchange for assistance in removing his name from

the No-


^See United States Government Accountability Office Report to Congressional Requesters entitled Terrorist


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Watch List Screening: Opportunities Exist to Enhance Management Oversight, Reduce Vulnerabilities in Agency
Screening   Processes,   and   Expand    Use   of   the   List,   GAO-08-110,   October    2007,   at   22.




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Fly List"). Seealso Fikre v. FBI, 2014 U.S. Dist. LEXIS 73174 (D. Or. May 29, 2014) (Emirati

officials told Yonas Fikre that he "could not travel to the United States by air because he is

on the No-Fly List" and an FBI agent told Fikre that "the FBI could take steps to remove

[him] from the No-Fly List if he agreed to be an informant."); Tanveer v. Holder, et al. No.

13-cv- 6951, Dkt. 15 (April 22, 2014) (Naveed Shinwari "declined to act as an informant

for the Federal Bureau of Investigation and to spy on [his] own American Muslim

communities and other innocent people.").

        57.    Almost all publicly known instances of Americans being placed on the

 watch list regard Muslims or persons who could be mistaken for Muslims.

        58.    Additionally, government records show that Dearborn, Michigan—which is

 40 percent Arab—is disproportionately represented on the federal watch list In fact,

 Dearborn is among the top five cities in the country, alongside Chicago, Houston, New

 York, and San Diego, represented on the federal watch list

        59.    Defendants' 2013 Watchlisting Guidance also indicates that "[t]ravel for no

 known lawful or legitimate purpose to a locus of terrorist activity" can be a basis for

 being listed. While a "locus of Terrorist Activity" is not defined by the document, upon

 information and belief, it likely includes any place where many Muslims reside.

                                 The 2012-2013 Incidents


        60.    Saadiq Long has been on the No Fly List since at least 2012.

        61.    Long learned that he was on the No Fly List when he tried to visit his

 mother in 2012 after learning that she had developed a life threatening condition.

        62.    In 2012, Long was living with the other plaintiffs—his wife and daughter—

 in Qatar. When he tried to fly home to Oklahoma, where he was born and where is

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parents and siblings still live, he was told that he would be unable to board a plane to fly

to see his mother.


           63.   After several months and substantial local, national, and international

media coverage, Long was allowed fly to Oklahoma.

           64.   Prior to being allowed to board that plane, the FBI visited his gravely ill

mother and demanded to see her prescription medications. Shocked, Long's mother

showed the FBI agents her medications.

           65.   Subsequent to returning to Oklahoma, the FBI followed him and his sister

around in unmarked vehicles. On one occasion. Long and his sister were alarmed that an

unmarked vehicle was tailingthem. Not knowing who was following them,they drove to

a police station in Oklahoma.

       66.       When they got to the station's parking lot, they were greeted by officers

with guns drawn, yanked out of their car, handcuffed and thrown to the ground. The

driver vehicle that had been following Saadiq and his sister approached them, introduced

himself as the FBI, and sarcastically apologized for how difficult it was for Saadiq to

return to the US.


       67.       Neither Saadiq nor his sister were arrested that day. In fact, the records

make clear that the reason local police drew their guns and handcuffed them was

because the FBI agent misled the officers by claiming that he was trying to detain "fleeing

felons."


       68.       Months after his return to Oklahoma, Saadiq had to go back to his family

and his livelihood in Qatar. However, despite letting the FBI know when he wanted to fly

ahead of time, the FBI refused to allow him to board a plane to return to Qatar.


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        69.    In March 2013, with the federal government continuing to prevent Saadiq
from flying home, he decided to return by taking a bus to Mexico, flying from Mexico to

South America, and then from South American to Qatar.

                              Plaintiffs' Current Predicament

        70.    On or about the end of October 2015, Plaintiffs travelled to Turkey to
explore work opportunities there and to also see the country where Saadiq Long served
the Air Force for a decade.

        71.    On or about the end of October 2015, the Turkish government detained

plaintiffs becausethe United States had flagged their passports.

        72.    Upon information and belief, the United States exports its No Fly List to

foreign government across the world with the hope that those countries will either

detain listees or not allow listees free movement.

        73.    Upon information and belief, Plaintiffs' passport was flagged as a result of

Defendants placing their names on the No Fly List. They are currently not free to leave

Turkish custody, because Defendants have placed them on the No Fly List.

        74.   The Turkish government, the US government, a Pulitzer Prize winning

journalist, and a Turkish attorney working with the undersigned counsel and the family

ofthe plaintiffs have all confirmed that there are no charges against Plaintiffs in Turkey.

        75.   Plaintiffs were detained because the United States placed them on their No

Fly List.

        76.   Currently, the United States has indicated that it will issue a one-time

waiver for Plaintiffs to fly from Turkey to the United States.

        77.   However, a one-time waiver that allows a listed person to fly still means


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that the person is on the No FlyList

       78.     The Plaintiffs cannot make a responsible decision about whether to return

to the United States by plane without knowing that they will be able to later leave the

United States by plane.

       79.     Because Defendants' No Fly List is disseminated to foreign governments

across the world, it is dangerous for Plaintiffs to travel through the many third-party
countries they would have to move through if they cannot simply fly—hke almost all

other American citizens can—through US airspace.

                                          COUNT I
         DEPRIVATION OF PROTECTED LIBERTIES IN VIOLATION OF FIFTH
                 AMENDMENT RIGHT TO SUBSTANTIVE DUE PROCESS
                flurisdiction under 28 U.S.C. S 1331 and 5 U.S.C. g 7021


       80.    Plaintiffs hereby reallege and incorporate by reference the foregoing

paragraphs of this Complaint as if fully set forth herein.

       81.    Plaintiffs are alleging a narrow as-applied substantive due process claim

based on facts specific to them, a broad as-applied substantive due process claim not

based on facts specific to them, and a facial challenge to the No FlyList

       82.    Because Plaintiffs do not present a security threat to commercial aviation.

Defendants' actions as described above in including Plaintiffs on a watch list that

unreasonably burdens or prevents them from boarding commercial flights or entering

the United States at land border crossings, are arbitrary, lack even a rational relationship

to any legitimate government interest, and have unreasonably deprived Plaintiffs of

constitutionally protected rights, including their liberty interests in travel, freedom from

false stigmatization, and nonattainder.


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        83.    By placing Plaintiffs on the federal watch list, Defendants have placed an

undue burden on their fundamental right of movement.

        84.    By keeping Plaintiffs on the No Fly List and offering onlya one-time waiver

to fly back to the United States, Defendants are deterring them from exercising their right
to undertake the movement required to return to the United States.

        85.    By keeping Plaintiffs on the No Fly List, Defendants have unlawfully diluted
their citizenship rights. Simply put, without the ability to return to the US by plane and
then leave by plane. Defendants are denying Plaintiffs the ability to benefit from many of

the rights and privileges of citizenship.

        86.    Defendants' watch list lack a compelling interest insofar as their true

purpose is to provide law enforcement with a tool to coerce American Muslims into

becoming informants.

        87.    Defendants' watch list are also not narrowly tailored insofar as the federal

watch list are entirely and demonstrably ineffectual and obvious alternatives exist.

        88.    Defendants have thus violated Plaintiffs' constitutional rights without

affording them due process of law and will continue to do so into the future if Plaintiffs

are not afforded the relief demanded below.



       WHEREFORE, Plaintiffs request this Honorable Court grant declaratory and

injunctive relief in the form described in the Prayer for Relief below, plus all such other

relief this Court deems just and proper including costs and attorneys' fees incurred in

this action.




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                                          COUNT II
        UNLAWFUL AGENCY ACTION IN VIOLATION OF THE ADMNIISTRATIVE
                    PROCEDURE ACT, 5 U.S.C. §§ 702,706
                  nurisdiction under 2« U.S.C. g 1331 and 5 U.S.C. 6 702)

       89.      Plaintiffs hereby reallege and incorporate by reference the foregoing
paragraphs of this Complaint as if fully set forth herein.

       90.      Defendants' actions described herein were and are arbitrary, capricious, an
abuse ofdiscretion, otherwise not in accordance with law, and contrary to constitutional
rights, power, privilege, or immunity, and should be set aside as unlawful pursuant to 5
U.S.C. § 706.

       91.      Defendants' use of the No Fly List against citizens is arbitrary, capricious,

an abuse of discretion, otherwise not in accordance with law, and contrary to

constitutional rights, power, privilege, or immunity, and should be set aside as unlawful

pursuant to 5 U.S.C. § 706. Specifically, the No Fly List is a violation of Plaintiffs'

substantive due process rights.

       92.      Because Plaintiffs do not present a security threat to commercial aviation.

Defendants' actions as described above in including Plaintiffs on the federal watch list

that unreasonably burdens or prevents them from boarding commercial flights or
entering the United States across the border, are arbitrary, capricious, an abuse of

discretion, otherwise not in accordance with law, and contrary to constitutional rights,

power, privilege, or immunity, and should be set aside as unlawful pursuant to 5 U.S.C. §

706.




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         WHEREFORE, Plaintiffs request this Honorable Court grant declaratory and
injunctive reliefin the form described in the Prayer for Relief below, plus all such other

relief this Court deems just and proper including costs and attorneys' fees incurred in

this action.



                                      Prayer for Relief


         WHEREFORE, Plaintiffs respectfully request:

    1.      A declaratory judgment that Defendants' policies, practices, and customs

            violate the Fifth Amendment to the United States Constitution and the

            Administrative Procedure Act;

   2.       An injunction that requires Defendants to remedy the constitutional and

            statutory violations identified above, including the removal of Plaintiffs from

            any watch list or database that burdens or prevents them from flying or

            entering the United States across the border;

   3.       An award of attorneys' fees, costs, and expenses of all litigation, pursuant to

            28 U.S.C.§2412; and,

   4.       All such other and further relief as the Court may deem just and proper.




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                                          CONCLUSION

For the reasons specified above. Plaintiffs respectfully ask that this Court grant the relief
requested.




                                                       GADEIRI.ABBAS
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 10, 2015,1 filed the foregoing document with the
Court and served to counsel for Defendants, both at the US Attorneys' Office as well as at the
Departmentof Justice, via electronic mail:


                                                    Respect fy submitted,
                                                    _/s/_
                                                    GADEIRI.ABBAS
                                                    THE LAW OFFICE OF GADEIR ABBAS
                                                    1155 F Street NW, Suite 1050
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